                                                      Case 2:20-cv-02233-KJD-EJY Document 14
                                                                                          12 Filed 01/12/21
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                                    6
                                                Attorneys for Defendant
                                    7           DOMINO’S PIZZA LLC

                                    8                                           UNITED STATE DISTRICT COURT
                                    9                                                 DISTRICT OF NEVADA
                                10

                                11              EMMANUEL FLORES, on behalf of                   Case No. 2:20-cv-02233-KJD-EJY
                                                himself and all others similarly situated,
                                12
                                                                   Plaintiff,
                                13                                                              STIPULATION AND ORDER TO VACATE
                                                vs.                                             EARLY NEUTRAL EVALUATION
                                14                                                              SESSION
                                                DOMINO’S PIZZA LLC; and DOES 1
                                15              through 50, inclusive,
                                16                                 Defendant(s).
                                17
                                                         Plaintiff EMMANUEL FLORES (“Plaintiff”) and Defendant DOMINO’S PIZZA LLC
                                18
                                                (“Defendant”), by and through their respective counsel of record, hereby stipulate and agree to
                                19
                                                VACATE the Early Neutral Evaluation (ENE) Session presently scheduled for February 8, 2021 at
                                20
                                                10:00 a.m., before U.S. Magistrate Judge Daniel J. Albregts. The parties make this request as this is
                                21
                                                not an employment discrimination matter as defined under LR 16-6(a) and the parties are in
                                22
                                                discussions about an arbitration agreement and proceeding with this case in arbitration per said
                                23
                                                agreement.
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                                    1                      This stipulation is made in good faith, and not for the purpose of delay.

                                    2           Dated: January 11, 2021
                                    3           Respectfully submitted,                          Respectfully submitted,
                                    4

                                    5  /s/ Joshua D. Buck                                         /s/ Amy L. Thompson
                                      MARK R. THIERMAN, ESQ.                                     MONTGOMERY Y. PAEK, ESQ.
                                    6 JOSHUA D. BUCK, ESQ.                                       AMY L. THOMPSON, ESQ.
                                      LEAH L. JONES, ESQ.                                        LITTLER MENDELSON, P.C.
                                    7 JOSHUA R. HENDRICKSON, ESQ.
                                      THIERMAN BUCK LLP                                          Attorneys for Defendant
                                    8                                                            DOMINO’S PIZZA LLC
                                 9 CHRISTIAN GABROY, ESQ.
                                   KAINE MESSER, ESQ.
                                10 GABROY LAW OFFICES

                                11 Attorneys for Plaintiff
                                   EMMANUEL FLORES
                                12
                                                                                                 ORDER
                                13

                                14                                                                      IT IS SO ORDERED.

                                15                                                                              January 12
                                                                                                        Dated: _____________________, 2021.
                                16

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                                                                                                        _______________________________________
                                18                                                                      UNITED STATES MAGISTRATE JUDGE

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